    Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 1 of 40




                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

GERVIL ST. LOUIS, a/k/a ST. LOUIS GERVIL             Civil Action No.:

              Plaintiff,

                           v.

DOUGLAS PERLITZ; FATHER PAUL E. CARRIER, S.J.;
HOPE E. CARTER; HAITI FUND, INC.; FAIRFIELD
UNIVERSITY; THE SOCIETY OF JESUS OF NEW
ENGLAND; SOVEREIGN MILITARY HOSPITALLER
ORDER OF ST. JOHN OF JERUSALEM OF RHODES AND
OF MALTA, AMERICAN ASSOCIATION, U.S.A., a/k/a
ORDER OF MALTA, AMERICAN ASSOCIATION, USA
JOHN DOE ONE; JOHN DOE TWO; JOHN DOE THREE;
JOHN DOE FOUR; JOHN DOE FIVE; JOHN DOE SIX; and
JOHN DOE SEVEN,

              Defendants.

                                                     August 8, 2013
`
                   COMPLAINT AND JURY TRIAL DEMAND
                                      INTRODUCTION
        1.    This case arises from the sexual molestation of dozens of Haitian boys,

including Gervil St. Louis, a/k/a St. Louis Gervil, by Defendant Douglas Perlitz

(“Perlitz”), while Perlitz was operating a residential school under the auspices and

supervision of Defendants Fairfield University, the Society of Jesus of New England

(the “New England Jesuit Order”), the Haiti Fund, Inc. (the “Haiti Fund”), the

Sovereign Military Hospitaller Order of St. John of Jerusalem of Rhodes and of Malta,

American Association, U.S.A. (a/k/a Order of Malta, American Association, USA) (the

“Order of Malta”), Hope Carter (“Carter”), and Father Paul E. Carrier, S.J. (“Father
Carrier”). In 2011, Perlitz was convicted of violating 18 U.S.C. § 2423(b), Travel With

                                             1
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 2 of 40




Intent To Engage In Illicit Sexual Conduct, but not before he had molested numerous

children in his care over a period of many years, without any of the other Defendants

taking any steps whatsoever to prevent or stop this horrendous pattern of abuse.

Indeed, Defendants assisted and facilitated Perlitz’s acts, providing him with the means

to commit them, and at least one of the defendants appears to have assisted in

attempting to conceal Perlitz’s crimes.

       2.     Perlitz, Father Carrier, Fairfield University, the Order of Malta, Carter,

and the Haiti Fund established a residential school in the Republic of Haiti, the poorest

country in the Western Hemisphere.        This school, Project Pierre Toussaint, a/k/a

Project Venerable Pierre Toussaint (“PPT”), purported to provide services to the poorest

children of Haiti, many of whom lacked homes and regular meals. Perlitz, residing in

Haiti, was the director of PPT, which provided him with an image of substantial trust

and authority.

       3.     Perlitz used that trust and authority to sexually molest Plaintiff and

numerous other minor boys who attended PPT. Perlitz also threatened to withhold

food and shelter from the impoverished children in his care if they did not comply with

his sexual demands, in effect forcing them to earn their food and shelter by trading
sexual favors for those necessities.

       4.     The other Defendants assisted Perlitz by providing him the means to

travel to and stay in Haiti and by providing him the means to operate PPT in this

manner.     They failed to provide appropriate guidelines and supervision for the

operation of PPT. They disregarded warning signs that should have alerted them to the

improper nature of Perlitz’s relationship with some of the boys in his care and

continued to provide funds to PPT long after it was, or should have been clear, that
Perlitz was abusing the trust that had been placed in him. At least one Defendant other

                                           2
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 3 of 40




than Perlitz actively took steps to prevent enforcement of laws meant to protect minors

from the conduct in which Perlitz engaged.

       5.     Plaintiff now seeks damages for his personal injuries pursuant to 18 U.S.C.

§ 2255, 18 U.S.C. § 1595, and the common law.
                              JURISDICTION AND VENUE
       6.     This Court has subject matter jurisdiction over Plaintiff’s statutory claims

pursuant to 28 U.S.C. § 1331 because Plaintiff’s claims arise under the laws of the
United States, specifically 18 U.S.C. §§ 1595 and 2255. This Court also has subject matter

jurisdiction pursuant to 28 U.S.C. § 1332, because Plaintiff is a citizen of a foreign state

and defendants are citizens of Connecticut, Colorado, and Massachusetts, as well as

supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

       7.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) (3) in that

at least one defendant may be found here.
                                         PARTIES
       8.     Plaintiff Gervil St. Louis, a/k/a St. Louis Gervil (“Plaintiff” or “Gervil St.

Louis” or “St. Louis”), is a citizen of the Republic of Haiti residing in Cap-Haitien, Haiti.

       9.     Defendant Douglas Perlitz (“Perlitz”) is an individual who, at the time of

his arrest in 2009, was a citizen of the State of Colorado. Prior to residing in the State of
Colorado, Defendant Perlitz had resided in the State of Connecticut. While a resident of

Connecticut, Defendant Perlitz frequently traveled from Connecticut to the Republic of

Haiti to reside for extended periods of time in the Republic of Haiti. On December 21,

2010, the United States District Court for the District of Connecticut adjudged

Defendant Perlitz guilty of violating 18 U.S.C. §2423(b), Travel With Intent To Engage

In Illicit Sexual Conduct. Perlitz was sentenced to serve 19 years and 7 months in
federal prison.    He is currently serving his sentence in the Federal Correctional


                                             3
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 4 of 40




Institution in Seagoville, Texas.

       10.     Defendant Haiti Fund, Inc. (the “Haiti Fund”) is a corporation organized

under the laws of the State of Connecticut. Pursuant to 28 U.S.C. § 1332(c) (1), the Haiti

Fund is, therefore, a citizen of Connecticut. The Haiti Fund funded, managed,

controlled and directed Project Pierre Toussaint of Cap-Haitien, Haiti, a program that

provided services for minor boys in and around Cap-Haitien, Haiti. At all relevant

times, PPT operated an intake center at one location, and two different residential

schools at two different locations; all the locations were in or around Cap-Haitien, Haiti.

The Director of PPT in Haiti was Perlitz. The Haiti Fund hired Perlitz and retained him

throughout the relevant time period. At all relevant times, the Haiti Fund had a duty to

exercise due care in its hiring and retention, including its hiring and retention of Perlitz.

At all times material hereto, while Perlitz was Director of PPT in Haiti, the Haiti Fund

had a duty to supervise and direct him, to exercise due care in doing so, a duty not to

knowingly benefit financially from participating in a venture engaged in activities in

violation of 18 U.S.C. § 1591, and a duty not to facilitate Perlitz’s travel to Haiti knowing

that Perlitz was travelling to Haiti to engage in illicit sexual conduct.

       11.     Defendant Fairfield University is a corporation organized under the laws
of the State of Connecticut, with its principal place of business in Fairfield, Connecticut.

Pursuant to 28 U.S.C. § 1332 (c) (1), Fairfield University is, therefore, a citizen of

Connecticut.

       12.     Defendant Fairfield University hired Father Carrier and retained him

throughout the relevant time period. At all relevant times, Fairfield University had a

duty to exercise due care in its hiring and retention, including its hiring and retention of

Father Carrier. At all relevant times, Fairfield University had a duty to supervise and
direct Father Carrier and to exercise due care in doing so.

                                              4
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 5 of 40




       13.    Fairfield University hired Perlitz in connection with PPT and retained him

during the relevant time period. At all relevant times, Fairfield University had a duty to

exercise due care in its hiring and retention, including its hiring and retention of Perlitz.

At relevant times, Fairfield University had a duty to supervise and direct Perlitz, to

exercise due care in doing so, a duty not to knowingly benefit financially from

participating in a venture engaged in activities in violation of 18 U.S.C. § 1591, and a

duty not to facilitate Perlitz’s travel to Haiti knowing that Perlitz was travelling to Haiti

to engage in illicit sexual conduct.

       14.    During the relevant time period, Fairfield University placed employees,

officers, or agents of Fairfield University in management and/or leadership positions of

the Haiti Fund. At all relevant times, such employees, officers, or agents of Fairfield

University held positions of management and/or leadership at the Haiti Fund.

       15.    At all relevant times, Fairfield University represented that the Haiti Fund

was engaged in activities supported, managed and sponsored by Fairfield University.

       16.    Defendant The Society of Jesus of New England (the “New England Jesuit

Order”) is a not-for-profit corporation organized under the laws of the Commonwealth

of Massachusetts and doing business in Connecticut. Pursuant to 28 U.S.C. § 1332 (c)(1),
the New England Jesuit Order is a citizen of Massachusetts. The New England Jesuit

Order hired Father Carrier and retained him throughout the relevant time period. At

all relevant times, the New England Jesuit Order had a duty to exercise due care in its

hiring and retention, including its hiring and retention of Father Carrier. At all relevant

times, the New England Jesuit Order had a duty to supervise and direct Father Carrier

and to exercise due care in doing so.

       17.    Defendant Sovereign Military Hospitaller Order of St. John of Jerusalem of
Rhodes and of Malta, American Association, U.S.A., a/k/a Order of Malta, American

                                             5
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 6 of 40




Association, USA (the “Order of Malta”), is a not-for-profit corporation organized and

existing under the laws of the State of New York. The Order of Malta is one of three

American affiliates of the Sovereign Military Hospitaller Order of Saint John of

Jerusalem of Rhodes and Malta (the “Sovereign Order of Malta”), a lay religious order

of the Catholic Church established by the Pope. The members of the Order of Malta are

referred to as Knights and Dames.

       18.    The Order of Malta hired Perlitz in connection with PPT and retained him

during the relevant time period. The Order of Malta had a duty to exercise due care in

its hiring and retention, including its hiring and retention of Perlitz. At relevant times,

the Order of Malta had a duty to supervise and direct Perlitz and to exercise due care in

doing so. During the relevant time period, the Order of Malta placed several of its

Knights and Dames on the Board of Directors of the Haiti Fund.

       19.    Defendant Father Paul E. Carrier, S.J. (“Father Carrier”) is an individual

who is a citizen of the State of Connecticut with a domicile in Bridgeport, Connecticut.

During the relevant time period, Father Carrier was a religious priest of the New

England Jesuit Order; University Chaplain/Director of Campus Ministry and

Community Service of Fairfield University; Chairman, President and/or Vice-President
of the Haiti Fund; and a Magistral Chaplain of the Order of Malta. Father Carrier hired

Douglas Perlitz and retained him throughout the relevant time period. At all relevant

times, Father Carrier had a duty to exercise due care in his hiring and retention,

including his hiring and retention of Perlitz. At all relevant times, Father Carrier had a

duty to supervise and direct Perlitz, to do so with due care, a duty not to knowingly

benefit financially from participating in a venture engaged in activities in violation of

18 U.S.C. § 1591, and a duty not to facilitate Perlitz’s travel to Haiti knowing that Perlitz
was travelling to Haiti to engage in illicit sexual conduct.

                                             6
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 7 of 40




       20.    Defendant Hope E. Carter is an individual who is a citizen of the State of

Connecticut with a domicile in New Canaan, Connecticut. During the relevant time

period Defendant Carter was a Dame of the Order of Malta; a member of the Board of

Directors of the Haiti Fund; Secretary of the Board of Directors of the Haiti Fund; and at

times material hereto, had a duty to supervise and direct Perlitz, to do so with due care,

and a duty not to assist Perlitz in engaging in criminal conduct. During relevant times

Carter served at least portions of two three-year terms on the Board of Councillors, the

governing body of the Order of Malta.

       21.    Defendants John Doe One, John Doe Two, John Doe Three, John Doe Four,

and John Doe Five are individuals whose identities are presently unknown to Plaintiff;

therefore, Plaintiff files the above-captioned action against Defendants John Doe One,

John Doe Two, John Doe Three, John Doe Four, and John Doe Five by such fictitious

names. Defendants John Doe One, John Doe Two, John Doe Three, John Doe Four, and

John Doe Five are citizens of the State of Connecticut or other states of the United States.

Plaintiff will seek leave to amend this Complaint to add the true name or names of

Defendants John Doe One, John Doe Two, John Doe Three, John Doe Four, and John

Doe Five when said name or names have been ascertained.              Plaintiff alleges that
Defendants John Doe One, John Doe Two, John Doe Three, John Doe Four, and John

Doe Five were responsible for the hiring, supervision, direction and retention of

Defendant Perlitz.

       22.    Defendants John Doe Six and John Doe Seven are individuals whose

identities are presently unknown to Plaintiff; therefore, Plaintiff files the above-

captioned action against Defendants John Doe Six and John Doe Seven by such fictitious

names. Defendants John Doe Six and John Doe Seven are citizens of the State of
Connecticut or other states of the United States. Plaintiff will seek leave to amend this

                                             7
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 8 of 40




Complaint to add the true name or names of Defendants John Doe Six and John Doe

Seven when said name or names have been ascertained. Plaintiff alleges that

Defendants John Doe Six and John Doe Seven were responsible for the hiring,

supervision, direction and retention of Defendant Father Carrier.
                                STATEMENT OF FACTS
Background and Founding of PPT
         23.   At all relevant times Father Carrier was a religious priest of New England
Jesuit Order and was subject to supervision and direction of the New England Jesuit

Order.

         24.   Fairfield University is a Jesuit university, operated by the New England

Jesuit Order. During the relevant time period, Fairfield University described itself on

its website as a “comprehensive Jesuit institution.” At all relevant times the New

England Jesuit Order stated and represented that it operated Fairfield University.

         25.   Over the last four decades the New England Jesuit Order has had several

members who have sexually abused numerous children. Rather than take timely action

to prevent sexual abuse of children, the New England Jesuit Order’s practice has been

years later to pay hundreds of thousands, if not millions, of dollars in compensation for

the harm its members caused to children.            The New England Jesuit Order’s
management and supervision in this case was, sadly, consistent with the way it

managed other instances involving the sexual abuse of children.

         26.   In the late 1980’s, when Perlitz was a freshman at Fairfield University and

Father Carrier was its Chaplain, Father Carrier and Perlitz began a sexual relationship.

Although this sexual relationship with a young student at Fairfield University should

have put Fairfield University and the New England Jesuit Order on notice that Father
Carrier was a person of bad character who could not maintain nor understand


                                             8
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 9 of 40




appropriate boundaries with vulnerable individuals, neither Fairfield University nor

the New England Jesuit Order disciplined Father Carrier. In 1997, less than ten years

after Father Carrier began his relationship with Perlitz, Father Carrier assisted Perlitz in

obtaining funding to start and operate PPT.

       27.      Perlitz told a number of his victims that Father Carrier was the one who

introduced Perlitz to homosexual activities when Perlitz was a student, at a time when

Father Carrier was Chaplain for Fairfield University, operated by the New England

Jesuit Order.

       28.      Beginning in 1996, Perlitz served for a year at a hospital in Milot, Haiti,

which is run by the Order of Malta through an entity called CRUDEM (Center for the

RUral DEvelopment of Milot).

       29.      In approximately 1997, Perlitz, with the assistance of Father Carrier,

Carter, Fairfield University, and John Doe One through John Doe Five obtained

approval, support, and funding from the Order of Malta to start and operate PPT, a

school for boys in Cap-Haitien, Haiti. The original funding for PPT came from the

Order of Malta. Thereafter, the Order of Malta and Fairfield University provided much

of the funding and personnel for the project. The Haiti Fund was formed to be the
vehicle to raise money for, and operate, PPT, but the Haiti Fund was little more than an

extension of Fairfield University and the Order of Malta.

       30.      PPT established an intake center that came to be referred to as the 13th

Street Intake Program. PPT provided services to boys of all ages, many of whom were

street children. The youngest children served by PPT were six years of age. PPT

provided a variety of services to the minor boys, including but not limited to, meals,

access to running water for baths or showers, basic classroom instruction, and sports
activities. Perlitz employed both Americans and Haitians to work at PPT.

                                              9
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 10 of 40




       31.    In or about 1999, with the assistance of Father Carrier, Carter, the Haiti

Fund, Fairfield University, the Order of Malta, and John Doe One through John Doe

Five, Perlitz obtained additional funding to expand PPT to include a residential facility

referred to as the Village.

       32.    From the formation of the Haiti Fund, Father Carrier served as a director

of the Haiti Fund. Within a year of the formation of the Haiti Fund, Father Carrier

became an officer of the Haiti Fund. To have served as an officer of the Haiti Fund, the

rules governing the conduct of the New England Jesuit Order required the New

England Jesuit Order to give permission to Father Carrier to engage in the work of the

Haiti Fund and to accept positions of authority and responsibility from the Haiti Fund.

       33.    In addition to Father Carrier, several members of the Haiti Fund Board of

Directors were associated with Fairfield University:      Deb Picarazzi, the operation

assistant for Fairfield University Campus Ministry served on the Haiti Fund board, as

did Larry Miners, a Fairfield University economics professor; Sue MacAvoy, a former

Fairfield University nursing professor; Fred Wheeler, the vice president for

development at Fairfield University; and Cathy Lozier, a former assistant tennis coach

at Fairfield University. Although Hope Carter, who sat on the Haiti Fund Board of
Directors, was not associated with Fairfield University, she was, instead, associated

with the Order of Malta.

       34.    Father Carrier and Hope Carter each travelled frequently to Haiti to check

up on and supervise the activities at PPT on behalf of Fairfield University, the New

England Jesuit Order, and the Order of Malta.
Operation, Support, and Supervision of PPT
       35.    Throughout most of the first decade of the 21st century, Defendants
provided funding and other support to PPT and specifically to Perlitz to allow him to


                                           10
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 11 of 40




continue operating PPT.

       36.     Under the direction of Father Carrier, Fairfield University, which was

operated by the New England Jesuit Order, supplied student volunteers through its

Mission Volunteers program; at all relevant times, the volunteers worked at PPT and

were supervised in that work by Father Carrier on behalf of Fairfield University and the

New England Jesuit Order.

       37.     During the approximately ten years that PPT was in operation, Father

Carrier travelled to Haiti to visit and supervise PPT on a frequent and regular basis, as

often as once a month. Father Carrier characterized his involvement in Haiti as “a

significant part of my work as University Chaplain and professor in the Peace and

Justice Studies program [at Fairfield].” A brochure describing Project Pierre Toussaint

lists Father Carrier as the contact person; the email address provided is

pecarrier@mail.fairfield.edu.    In 2004, Fairfield Now, “the Magazine of Fairfield

University,” reported that Father Carrier was “intimately involved with Project Pierre

Toussaint . . . .”

       38.     That same year, Fairfield Now also proudly reported that “Fr. Carrier spent

spring break in Cap Hatien and commented daily on CNN, reporting about the people
to whom he had spoken, their feelings, and their fears.” Transcripts of Father Carrier’s

appearances on CNN show that Carrier was always identified as being from Fairfield

University; PPT was repeatedly referred to as a school or program run by Fairfield

University. On March 18, 2004, after being introduced on the CNN national broadcast

as “Father Carrier from Fairfield University in Connecticut,” Father Carrier discussed

the programs run by PPT:

       [T]hese are the children who two or three years ago were on the streets of
       Cap Haitien living, like I said, off the stalls of the marketplace. And they
       were able to participate in a day program that we have . . .

                                            11
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 12 of 40




Father Carrier added, unprompted, “I would just say that, you know, all of us at Fairfield

are so proud of our people who have given their lives to this project and who have stayed

through all the difficulties.” (Emphasis added).

      39.    Fairfield University itself, operated by the New England Jesuit Order,

promoted PPT as a mission in which Fairfield University students or prospective

students could participate.    Until the time Perlitz ceased to direct PPT, Fairfield

University marketed PPT as a program to attract prospective students to Fairfield

University. It honored Perlitz for his work there, first with an honorary degree and

later with its Humanitarian Award.         Indeed, Perlitz was Fairfield University’s

commencement speaker in 2002, ten years after his own graduation. As the Fairfield

University Dean of Students put it in a PPT newsletter in June 2003, “Unless you have

your head in the sand, you cannot worship at [Fairfield University’s] Egan Chapel or

work in Fairfield University and not know the name Doug Perlitz.” In 2004, Father

Carrier sent a mass email soliciting donations to support Perlitz’s work in Haiti. The

subject line of the email read, in part, “Need new prayers for Haiti Mission headed by

Fairfield U. missionaries Doug Perlitz and Andy.” Perlitz was a Fairfield University

“favorite son” and – until he was arrested as a child molester -- his work was the
school’s work.

      40.    During relevant times, Fairfield University, which was operated by the

New England Jesuit Order, raised over $600,000 for the Haiti Fund at events held at

Fairfield University. Much of this money was raised at Fairfield University’s annual

“Jazz It Up for Haiti” fundraiser. A press release after the 2006 fundraiser described the

involvement of “a University team of food service, maintenance, printing, media,

Campus Ministry, Barone Center administration and many other campus personnel.”
Fairfield University transferred those monies either to PPT or the Haiti Fund. During

                                           12
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 13 of 40




relevant years Fairfield University directly funded the Haiti Fund with $51,000. In

addition, from 1997 through 2006, Fairfield University paid Father Carrier

approximately $120,000, some or all of which was spent to support Father Carrier’s

activities with PPT.

        41.   Donations to support PPT were frequently made in the form of checks

made out to “Fairfield University,” “Campus Ministry,” “Fairfield University Campus

Ministry,” or “The Haitian Fund of Fairfield University.” A cover letter accompanying

one such check – made out to “Fairfield University Campus Ministry” – specifically

described the donation as “a grant to the Haiti Fund.”         Some checks made out to

Fairfield University Campus Ministry contain notations on the front that they were for

“Haiti Fund,” “Haiti Mission,” “Haiti Project,” PPT,” or “Project Pierre Toussaint.”

        42.   Checks made out to Fairfield University, Campus Ministry, Fairfield

University Campus Ministry, or the Haitian Fund of Fairfield University were routinely

deposited into the bank account of the Haiti Fund. Conversely, checks made out to

“Project Pierre Toussaint” and the “Haiti Fund” were deposited into Fairfield

University Restricted Funds Accounts. Thus, no distinction was maintained between

the Haiti Fund and Fairfield University with respect to PPT.
        43.   In November, 2005, Father Carrier and the “Jesuits in the Fairfield

Community” held a fundraiser “to support the missions in Haiti and Bridgeport.” The

invitation asked attendees to “[m]ake checks payable to Fairfield University Campus

Ministry.”    As a result of this Jesuit and Fairfield University fundraiser, $4,100 in

donations was collected; the majority of the checks were made out to “Fairfield

University Campus Ministry,” as requested. The money was turned over to the Haiti

Fund.
        44.   In 2005, Fairfield University entered into a contract for building materials

                                           13
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 14 of 40




for PPT. The contract states that “Fairfield University, through its Project Venerable

Pierre Toussaint, has been serving poor families in Haiti . . . .” The contract was signed

by Father Carrier on behalf of “the Pierre Toussaint Project, Fairfield University.”

          45.   The Order of Malta, too, claimed PPT and Perlitz as its own. Even after

Fairfield University began raising large sums of money for PPT, the Order of Malta

continued to provide funding, in the form of a $25,000 grant each year. Hope Carter

was actively involved in supervising the program on behalf of the Order of Malta.

          46.   In 2003, the Order of Malta recognized PPT as an official “work” of the

Order of Malta. In 2004, the Haiti Fund reported this official designation to the Raskob

Foundation in connection with a grant application. The Haiti Fund explained that “the

designation of ‘work’ of the Order necessitates not just financial support but also hands-

on involvement. . . . “ In other instances, the Order of Malta itself applied for grants on

behalf of the Haiti Fund.

          47.   An undated Order of Malta informational brochure lists PPT as one of the

“international works” of the Order of Malta. In its Winter 2007-08 newsletter, the Order

of Malta reported that its president had presented an award to “Doug Perlitz in

recognition of his work and dedication to Malta’s Pierre Toussaint School for Boys in
Haiti.”     To celebrate PPT’s anniversary, CRUDEM, the Order of Malta entity that

operates the hospital in Milot, Haiti, created an advertisement or plaque that

announced:       “The CRUDEM Foundation congratulates Project Pierre Toussaint, its

sister Order of Malta work in Haiti, on ten years of service!” Another ad or plaque

continued:

          The Knights and Dames of the Sovereign Military Hospitaller Order of St.
          John of Jerusalem of Rhodes and of Malta: American Association, U.S.A
          salute the Malta Missionaries for ten years of service to Haitian youth!
          Andy, Joanie, Tim, Nick, Britt and Jess under the leadership of Doug and
          PPT’s spiritual leader Fr. Paul.
                                            14
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 15 of 40




“Doug” is Doug Perlitz; Andy, Joanie, Tim, Nick, Britt, and Jess were all American

volunteers at PPT. Thus, PPT was the Order of Malta’s work and its staff members

were “Malta Missionaries.”

       48.    Father Carrier wrote periodic letters to “Malta Friends of PPT,” in which

Perlitz was described as a “Malta Missionary” and PPT was described as the “Project

Pierre Toussaint Malta Community.” The Malta Friends of PPT were told that their

gifts would directly support Perlitz.

       49.    A letter signed by Father Carrier in the summer of 2002 to the “Friends of

Project Pierre Toussaint” also described Perlitz and one of the PPT volunteers as “Malta

lay missionaries.” The letter asked recipients to make donations to support these Malta

lay missionaries; checks, it said, “may be made out to the Order of Malta in CT.”

       50.    Computers used at PPT were owned directly by the Order of Malta; a car

dedicated to use by PPT was registered to the Order of Malta or to a Malta-affiliated

entity and provided to PPT.

       51.    At all relevant times, the New England Jesuit Order has stated that it may

send its members anywhere in the world to serve. At all relevant times, members of the

New England Jesuit Order have often been sent on missions to areas operated by other
provinces in places around the world, including Haiti.

       52.    During relevant times, Jesuits in training were sent to work at PPT. One

such Jesuit trainee lived in the PPT staff residence in the early part of 2008.

       53.    From at least 1999 to sometime in 2008, Defendant Perlitz travelled from

the Republic of Haiti via airline flights to the States of Florida and New York. From

Florida and New York Perlitz would then travel to Connecticut to engage in

fundraising to raise substantial funds for the Haiti Fund from residents of Connecticut,
New York and other states to support activities of PPT in Haiti. After engaging in such

                                             15
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 16 of 40




fundraising in and around this time period, Perlitz would then travel from Connecticut

to Florida and New York where Perlitz purchased airline tickets to return to Haiti. The

Haiti Fund, Father Carrier and Fairfield University facilitated Perlitz’s travel to Haiti by

providing funds for such travel and/or scheduling Perlitz’s trips to Haiti.

       54.    From at least 1999 to sometime in 2008, Father Carrier and Carter

participated in raising substantial funds for the Haiti Fund from residents of

Connecticut, New York and other states to support activities of PPT in Haiti. In and

around this time period Father Carrier and Carter would regularly travel from

Connecticut to Florida or New York where they purchased airline tickets to travel to

Haiti to visit and supervise PPT.    Father Carrier and Carter would then return from

Haiti via airline flights to Florida or New York and then travel back to Connecticut.

Father Carrier and Carter made these trips as representatives of Fairfield University, the

New England Jesuit Order, the Haiti Fund, and the Order of Malta.

       55.    As the Chairman and then President of the Haiti Fund, and as Director of

Campus Ministry and Community Service at Fairfield University, Father Carrier was

obliged to supervise and monitor the program at PPT, which was being supported with

funds from the Haiti Fund and from Fairfield University, and which was being staffed,
in part by volunteers and missionaries from Fairfield University and by Jesuits in

training. Father Carrier knew that Perlitz used substantial portions of funds from the

Haiti Fund and from Fairfield University to finance Perlitz’s frequent trips to, and

extended stays in, Haiti.

       56.    From prior to 2003 to sometime in 2008, Perlitz and the Haiti Fund, either

directly or through PPT, purchased supplies in the United States which were taken to

Haiti and used at PPT.
       57.    During the relevant time period, a house in Bel Air, Haiti was maintained

                                            16
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 17 of 40




as a PPT staff residence. Perlitz lived in the house in Bel Air and had his own bedroom

there. Staff volunteers also resided in the Bel Air house. Jesuits who visited PPT also

stayed there.

      58.       PPT was set up without even minimal safeguards for the children there.

Perlitz had no relevant experience or training in running such a program when he was

hired by Carrier, Carter, Fairfield University, the Order of Malta, and/or the Haiti Fund

to direct PPT. None of PPT’s founders and benefactors provided any rules, standards,

guidance, or supervision about the maintenance of boundaries and/or the protection of

the children who would be utterly dependent on the program and its director. None of

PPT’s founders or funders set up or provided any structure for oversight or evaluation

of the program or for monitoring how Perlitz was performing. They sent Perlitz to

Haiti invested with their authority and, insofar as the safety of the children served

there, paid no attention to how he ran the program they gave him the money to set up.

      59.       This stands in contrast to the “Safety Policies” the Haiti Fund and its

board created for Project Pierre Toussaint, to ensure the safety of the American

volunteers who travelled to Haiti to work in the program. There were numerous rules

and prohibitions regarding travel within Haiti and with respect to the “residence,” the
house in Bel Air where PPT American staff resided. There were no rules regarding

boundaries to be maintained between staff and children, and no rules about leaving

children alone with a single staff member. Nor were the staff members who lived in the

staff residence – primarily young, inexperienced volunteers -- provided any training

that would have helped them recognize that the sleeping arrangements at the staff

residence, where boys routinely slept in Perlitz’s bedroom, were irregular and

improper.
      60.       The lack of policies to safeguard the children at PPT was also in violation

                                             17
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 18 of 40




of the policies and recommendations of the Catholic Church. In 1995, the National

Conference of Catholic Bishops released a document entitled “Walk in the Light: a

Pastoral Response to Child Sex Abuse.” The document recognized the problem of child

sex abuse and the need for the Church to take steps to address it. In 2002, the United

States Conference of Catholic Bishops at a widely publicized meeting issued a

document entitled “Charter for the Protection of Children and Young People.” This

document recognized the need for clear and well-publicized “standards of ministerial

behavior and appropriate boundaries for clergy and for any other church personnel in

positions of trust who have regular contact with children and young people.” The New

England Jesuit Order states that it abides by the “Charter for the Protection of Children

and Young People.” Despite the call for clear and well-publicized standards of behavior

and boundaries, no such standards of behavior or boundaries were established at PPT

by the New England Jesuit Order, by Fairfield University, a Jesuit institution, by the

Order of Malta, or by the Haiti Fund, which was under the control of Fairfield

University and the Order of Malta.
Perlitz’s Abuse of Boys at PPT
      61.    Through PPT, Perlitz had access to, authority over, and control over the

boys attending or receiving services at PPT. At all relevant times, Father Carrier,
Carter, the Haiti Fund, the Order of Malta, Fairfield University, the New England Jesuit

Order, and John Doe One through John Doe Five knew about Perlitz’s access to,

authority over, and control over the boys at PPT.

      62.    Through his role at PPT, Perlitz was in a position that the minor boys

attending or receiving services at PPT would believe they could trust him. At all

relevant times, Father Carrier, Carter, the Haiti Fund, the Order of Malta, Fairfield
University, the New England Jesuit Order, and John Doe One through John Doe Five


                                           18
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 19 of 40




knew that because of Perlitz’s position, the minor boys participating in PPT would

believe they could trust Perlitz.

       63.    Through his role at PPT, Perlitz was in a position that the minor boys

attending or receiving services at PPT would have confidence that the conduct Perlitz

engaged in was to further their best interests. At all relevant times, Father Carrier,

Carter, the Haiti Fund, the Order of Malta, Fairfield University, the New England Jesuit

Order, and John Doe One through John Doe Five knew that because of Perlitz’s

position, the minor boys participating in PPT would have confidence that the conduct

Perlitz engaged in was to further their best interests.

       64.    Father Carrier and Carter frequently traveled to Cap-Haitien, Haiti to visit

Perlitz and Project Pierre Toussaint, or otherwise participated in activities at PPT.

Father Carrier and Carter became aware that Perlitz was engaged in conduct that

endangered minor boys participating in PPT.          In spite of this information, Father

Carrier and Carter assisted and facilitated Perlitz in Perlitz’s efforts to sexually abuse

minor boys participating in PPT and in Perlitz’s efforts to conceal his sexual abuse of

minors participating in PPT.

       65.    Perlitz abused his position at PPT and betrayed the trust the minor boys
placed in him by abusing many of the minor boys in his care.

       66.    Perlitz employed several different tactics in his abuse of the minor boys in

his care. In many instances, Perlitz suggested that boys sleep at the PPT staff residence

in Bel Air, where Perlitz resided, rather than at the PPT residential facility.     Indeed,

although the boys at PPT were supposed to sleep at PPT’s residential facilities, Perlitz

frequently had several boys stay at his home in the PPT house at Bel Air. Often one or

more boys slept in Perlitz’s bedroom, while Perlitz was also sleeping there. More than
one of the boys lived outright at the house in Bel Air for a substantial period of time.

                                             19
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 20 of 40




       67.    Perlitz summoned boys from PPT’s residential facilities to the house in Bel

Air for the purpose of sexually molesting them; staff members were directed to send

particular boys to Bel Air in the evening. On occasions, Perlitz came to the residential

facilities at PPT and molested boys in their beds at the PPT residential facility.

       68.    While the boys were sleeping, or about to sleep, Perlitz would begin

molesting them and/or demanding that they engage in sexual conduct with him.

       69.    Prior to Perlitz sexually assaulting the minor victims, Perlitz often

provided intoxicating substances to the the minor victims to cloud their judgment and

weaken their resistance.

       70.    In other instances, Perlitz would demand sexual favors in exchange for

shoes, clothing, money or other necessities. Boys who were willing to accede to Perlitz’s

demand were provided with new clothes and shoes, as well as cash, while boys who

refused Perlitz’s demands were forced to go without basic necessities.

       71.    In many instances, Perlitz would cause the boys to believe that for those

boys to continue to live at PPT’s facilities where the boys were provided room, board

and educational services, the boys had to engage in sexual activity with Perlitz. Those

boys understood if they could not continue to live at PPT’s facilities, they were faced
with the stark reality that they would have to return to living on the streets.

       72.    Perlitz caused minor boys at PPT to engage in commercial sex by pressing

them to engage in sexual acts in exchange for cash, food, shelter, shoes, clothing or

other necessities. Perlitz further recruited, enticed, and maintained these minor boys

knowing that he would cause them to engage in these commercial sex acts.

       73.    When boys at PPT would ask Perlitz at his office for financial assistance to

buy necessities, such as shoes or clothes, Perlitz would direct those boys to request that
financial assistance from the Haitian administrator of one of PPT’s residential facilities.

                                             20
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 21 of 40




When those boys would leave Perlitz’s office, Perlitz would then call that PPT

administrator and direct that administrator to deny the requested financial assistance.

After rejection from the administrator, those boys appealed to Perlitz who then

demanded sex in exchange for financial assistance.

       74.    Perlitz kept pornographic photos and films on his computer.              On

numerous occasions, Perlitz showed this material to the boys he was molesting.
Notice of Perlitz’s Activities
       75.    At all relevant times, Father Carrier, Carter, Fairfield University, operated

by the New England Jesuit Order, the New England Jesuit Order itself, the Order of

Malta, and the Haiti Fund knew that PPT was providing basic services to extremely

vulnerable Haitian minor children. At all relevant times, the Defendants knew that

these vulnerable Haitian minor children had no place to sleep, except at PPT’s

residential facilities; had no educational opportunity, except at PPT facilities; and had

no funds for necessities, such as clothes and food, except for the funds PPT gave these

minor children.

       76.    Much of Perlitz’s molestation of minor boys took place at the PPT staff

residence in Bel Air where Perlitz lived. That residence was an extremely small house.

At least one of the rooms had been added to the house after the original construction,
and windows that had once faced the outside of the house now faced into the added

room. In addition, the shape and design of the house were such that the outside

window to Perlitz’s room was visible from other rooms in the house, so that someone

inside the house could look out, through the window, back into Perlitz’s room. As a

result, there was little privacy and it was difficult to conceal from the rest of the house

activities taking place in any part of it.
       77.    In January, 2008, a Jesuit trainee arrived in Cap-Haitien for an assignment


                                             21
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 22 of 40




at PPT. Within three weeks, the trainee noted numerous problems at PPT, including

concerns about Perlitz’s relationships with the children in the program. The trainee

quickly noted the irregularity of the boys sleeping in Perlitz’s bedroom.

       78.    The bathroom that Perlitz used was across a passage from Perlitz’s

bedroom; at one point, that passage was used as a sleeping area by the visiting Jesuit

trainee. The trainee was thus able to observe that Perlitz had boys sleeping in his

bedroom and also that Perlitz closed the door to his room when there was a boy

sleeping there with him. Indeed, there was a window between the passage and Perlitz’s

bedroom, so that anyone in the passage could see into the bedroom. Sounds carried

easily within the house. With the door to Perlitz’s room closed, the Jesuit trainee could

nonetheless hear voices from inside; the location and direction of the voices suggested

that Perlitz and the boy were sharing the bed. The trainee also observed that Perlitz put

on a towel when crossing to the bathroom, but otherwise appeared to be naked when

he was in his room with the minor boys.

       79.    The Jesuit trainee visiting PPT also observed that boys who were Perlitz’s

favorites had expensive clothes, a high-end iPod, and privileges that other boys did not

seem to share.
       80.    In February, 2008, the Jesuit trainee met with a nun in Haiti whom Father

Carrier had suggested he contact. When the trainee shared his reservations about PPT

and about Perlitz, the nun informed him that she and others in Haiti shared his

reservations and concerns. By the end of February, the trainee had spoken to other

volunteers in Haiti about problems at PPT, including the irregularity of the situation at

the staff residence where many of the boys spent the night. These volunteers confirmed

that they, too, had concerns about Perlitz and the project, but they had been unable to
get Perlitz to address any of the issues they raised.

                                             22
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 23 of 40




      81.    The experience of the Jesuit trainee in Haiti shows how obvious and well-

known concerns about Perlitz and PPT were in Cap-Haitien and how readily available

the information was to anyone who looked for it.

      82.    Information and warning signs were also available to PPT staff members,

especially those who resided in the staff residence. Staff volunteers from PPT were

present at the staff residence in Bel Air in the morning when minor boys who had spent

the night in Perlitz’s bedroom were there and had obviously spent the night. American

staff members from PPT, including volunteers from Fairfield University which was

operated by the New England Jesuit Order, and apparently directly from the New

England Jesuit Order, all under the supervision of Father Carrier, also resided in the

staff residence. These staff members saw minor boys in the evening and then saw those

same boys in the house early the next morning. These staff members further saw boys

in Perlitz’s bedroom in the staff residence house during the day, and at bedtime saw

boys go to sleep in Perlitz’s bedroom.

      83.    Some of the boys who were anally raped by Perlitz in Perlitz’s bedroom

complained loudly while Perlitz penetrated them, such that other persons in the house

could have and would have heard them.
      84.    On several occasions, boys who had been abused by Perlitz told staff at

PPT about the abuse. For example, several of the boys that Perlitz abused told Margaret

Joseph, a psychologist/social worker employed by the Haiti Fund and/or PPT about

the abuse. At least one boy told one of the tutors. Other staff members, including

teachers, drivers, and a cook were aware that Perlitz was sexually abusing some of the

boys at PPT. Some of the staff at PPT who were informed of the abuse were Americans,

while others were Haitian.
      85.    Father Carrier and Carter travelled frequently to Haiti to visit PPT and

                                          23
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 24 of 40




meet with Perlitz at the house in Bel Air. Many, if not all, of the boys that Perlitz

abused knew both Father Carrier and Carter from their frequent visits. The boys who

knew Father Carrier and Carter respected and trusted Father Carrier and Carter. Father

Carrier, a New England Jesuit Order religious priest, a Magistral Chaplain of the Order

of Malta, and University Chaplain/Director of Campus Ministry and Community

Service of Fairfield University often celebrated mass for the PPT minor students.

       86.    Father Carrier and Carter failed to speak to the boys in a setting where the

boys could feel safe about reporting what they were experiencing at PPT. If Father

Carrier and/or Carter learned of the abuse from the numerous staff persons who knew

about it, including American staff persons and volunteers under Father Carrier’s

supervision, they failed to take any steps to stop it or address it in any way.

       87.    For a number of years Father Carrier regularly met with a PPT Haitian

staff administrator in Cap-Haitien to inquire about the PPT and the children served by

PPT. When that Haitian staff administrator learned that Perlitz was sexually abusing

minors, he confronted Perlitz and tried to stop Perlitz from continuing this behavior.

Thereafter Father Carrier stopped consulting, or even greeting that PPT Haitian staff

administrator.
       88.    Father Carrier was acquainted with the nun in Haiti to whom he sent the

visiting Jesuit trainee for advice. The nun was aware of problems at PPT, including

problems in the relationship between Perlitz and the boys in his care. To the extent that

Father Carrier failed to inquire of the nuns he knew in Haiti about conditions at PPT

and about Perlitz in particular, Father Carrier was grossly negligent in his supervision

of Perlitz on behalf of Fairfield University, the New England Jesuit Order, the Haiti

Fund, and the Order of Malta. If, on the other hand, Father Carrier did learn from her
about warning signs at PPT, he failed to take any steps to address them.

                                             24
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 25 of 40




      89.        Not only did Father Carrier and Carter neglect to seek out information

about Perlitz’s conduct of PPT, they ignored warning signs that Perlitz was engaged in

improper relationships with the minor boys at PPT, including:

            a. Father Carrier and Carter were present in the Bel Air staff residence while

                 minor boys participating in PPT were also there. Both Father Carrier and

                 Carter saw minor boys from PPT in Perlitz’s bedroom in the Bel Air

                 house. Because PPT had residential facilities, there was no legitimate

                 reason for the boys to be present at Perlitz’s home, even less to be in his

                 bedroom in the Bel Air house.

            b. Father Carrier saw Perlitz show at least one PPT student a pornographic

                 video on Perlitz’s computer in Perlitz’s bedroom in the Bel Air staff

                 residence.

            c. Both Father Carrier and Carter were aware that at least one of the boys

                 was living in the Bel Air house.

            d. On at least one occasion, Father Carrier was present when Perlitz

                 arranged a rendezvous at the Bel Air house with one of the boys for late in

                 the evening.
            e. Father Carrier was present when Perlitz hugged one PPT minor student so

                 that the front of Perlitz’s body was pressed against the back of that

                 minor’s body.

            f.   Father Carrier spent an evening at the Bel Air staff residence in an

                 upstairs bedroom when another minor slept in Perlitz’s bedroom

                 downstairs and was sexually abused by Perlitz that evening.         Father

                 Carrier knew that yet another minor was sleeping in Perlitz’s bedroom in
                 the Bel Air house.

                                               25
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 26 of 40




            g. Father Carrier was well aware that the Bel Air residence was several

               miles from PPT’s residential facilities and that there was no transportation

               available to take boys back to PPT late at night. When Father Carrier saw

               boys there late at night, he knew they would be spending the entire night

               there.

      90.      All of these circumstances should have alerted Father Carrier and Carter

that something was amiss in Perlitz’s dealings with the boys in his care at PPT. During

all these events Father Carrier and Carter were officers of the Haiti Fund and members

of the Order of Malta, of which Father Carrier was a Magistral Chaplain.        During all

these events Father Carrier was a New England Jesuit Order religious priest and

University Chaplain/Director of Campus Ministry and Community Service of Fairfield

University which was operated by the New England Jesuit Order.

      91.      The visits to PPT by Father Carrier, a religious priest of the New England

Jesuit Order, and Carter, who had previously been appointed to, or elected to,

leadership positions in Catholic affiliated organizations, such as the Order of Malta and

the Canterbury School of New Milford, Connecticut, occurred at a time when those in

leadership positions of organizations affiliated with the Catholic Church were well
aware of the potential for sexual abuse of minor children by adults charged with

looking after their well-being. As already noted, the National Conference of Catholic

Bishops released a document recognizing the problem of child sex abuse and the need

for the Church to take steps to address it in 1995, three years before PPT was founded.

Moreover, the “Charter for the Protection of Children and Young People,” which

recognized the need for clear and well-publicized “standards of ministerial behavior

and appropriate boundaries for clergy and for any other church personnel in positions
of trust who have regular contact with children and young people” was issued in 2002.

                                            26
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 27 of 40




In addition, the New England Jesuit Order in January 2006 promulgated the New

England Jesuit Order’s “Ethics in Ministry Policies” which proscribed the conduct in

which Perlitz engaged.

        92.   Thus, by the time that Perlitz was abusing minor boys in his care, the

Catholic Church and its affiliates had been put on notice of the problem of child sex

abuse and of the signs that a clergy member or a lay adult in charge of children was

engaging in improper relationships with those children. Nonetheless, neither Father

Carrier, nor Fairfield University, operated by the New England Jesuit Order, nor the

New England Jesuit Order itself, nor Carter nor the Haiti Fund nor the Order of Malta –

took any steps to protect the children in Perlitz’s care. On the contrary, they facilitated

Perlitz’s crimes by continuing to provide him money and facilities to run PPT in the face

of evidence that Perlitz was maintaining inappropriate relationships with boys in his

care.

        93.   Although defendants failed to take any steps to protect the children in

Perlitz’s care, it is clear that defendants were kept informed about activities at PPT and

at the staff residence in Bel Air and that Father Carrier and Mrs. Carter acted as the eyes

and ears of the Haiti Fund, Fairfield University, the New England Jesuit Order, and the
Order of Malta in Haiti. Thus, during his visits to Haiti, Father Carrier learned that an

adult volunteer had an adult Haitian girlfriend who occasionally spent the night at the

Bel Air residence. Shortly thereafter, a member of the Haiti Fund board (and Fairfield

University employee or former employee) phoned the volunteer in Haiti to admonish

him about the inappropriateness of his girlfriend staying in the house. Clearly, the

Haiti Fund and Fairfield University were receiving sufficient information for their

representatives on the ground to monitor who was living in the Bel Air house and to
involve themselves in those arrangements when they chose.

                                            27
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 28 of 40




       94.      While Father Carrier failed to monitor and/or report Perlitz’s improper

activities at PPT, Fairfield University failed to properly supervise Father Carrier in his

capacity as Chaplain and Director of Campus Ministry and, in particular, with respect

to his role at PPT. Thus, Fairfield University failed to properly monitor PPT’s or Father

Carrier’s activities in Haiti and failed to question Father Carrier to ensure that Father

Carrier was carrying out his duties to appropriately supervise the program at PPT.

       95.      The New England Jesuit Order, of which Father Carrier was a member,

and which operated Fairfield University failed to properly supervise Father Carrier and

Fairfield University with respect to their activities managing and overseeing PPT.

       96.      The Order of Malta similarly failed to supervise Carter and Father Carrier

with respect to their oversight of the Order of Malta’s project in Haiti. The Order of

Malta failed to ensure that Carter and Father Carrier were properly supervising PPT

and failed to ensure that proper procedures and safeguards were put in place at the

project it claimed as its own.

       97.      Defendants Perlitz, Father Carrier, Carter, and the Haiti Fund hindered,

delayed, and prevented communication to law enforcement officers, including law

enforcement officers of the United States, of information relating to Perlitz’s violations
of 18 U.S.C. § 2423 and 18 U.S.C. § 1591, in at least the following ways:

             a. In late 2007 and early 2008, after learning of claims that Perlitz had been

                molesting boys at PPT, the Haiti Fund conducted an investigation

                designed to discredit those claims and exonerate Perlitz.             This

                investigation was not conducted in good faith. Instead, Father Carrier,

                Carter, and/or other officers of the Haiti Fund manipulated the

                investigation, and/or allowed Perlitz to manipulate it, by preventing and
                precluding other Haiti Fund board members – or anyone else -- from

                                             28
Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 29 of 40




          questioning potential independent witnesses or otherwise engaging in any

          serious investigation. As a result, the Haiti Fund’s initial report declared

          there was no merit to claims Perlitz was sexually abusing boys at PPT.

          Had the Haiti Fund conducted a bona fide investigation at this time, it

          would not have exonerated Perlitz and would have realized it should

          convey information about Perlitz’s illegal conduct to law enforcement

          officers of the United States.

       b. In 2008, after the Haiti Fund initiated a second investigation of Perlitz’s

          activities in Haiti, Perlitz and Carter took steps to bar investigators hired

          by the Haiti Fund Board of Directors from entering Perlitz’s bedroom at

          the house in Bel Air, Haiti. That same year, in a further effort to prevent

          any real investigation into Perlitz’s conduct, Father Carrier and Carter

          wrote a letter to Haiti Fund donors stating that the accusations against

          Perlitz were groundless, despite the fact that, by this time, both Father

          Carrier and Carter were on notice of Perlitz’s probable illegal conduct.

          These actions successfully delayed the conclusion of the second

          investigation. Had Father Carrier, Carter and other members of the Haiti
          Fund board not delayed the second investigation, the Haiti Fund would

          have realized sooner than it did that it should convey information about

          Perlitz’s illegal conduct to law enforcement officers of the United States, so

          that Perlitz could have been prosecuted – and stopped – earlier than in

          fact occurred.

       c. In 2008, at the behest of Perlitz (who was at that time barred from

          returning to Haiti himself), Carter flew to Haiti and removed one or more
          of Perlitz’s computers from the Bel Air house and took them with her to

                                           29
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 30 of 40




             the United States.     It appears that Carter removed the computer or

             computers to prevent investigators, including, ultimately, federal law

             enforcement personnel, from discovering pornographic material, which

             may have included pornography relating to young boys, stored on the

             computer or computers. Rather than turn the computer or computers

             over to investigators looking into Perlitz’s conduct, Carter delivered them

             to Perlitz.   A year after Carter spirited the computers away from

             investigators, one of these computers was seized when Perlitz was

             arrested. United States investigators found that Perlitz had used that

             computer to visit websites focusing on sexual material relating to boys,

             such as EXTREMEGAYBOYS.COM, www.photosgayboys.com/teenboys,

             and www.spankteenboys.com.

      98.    From 1999 until 2008 the Haiti Fund, with substantial participation of

Fairfield University, raised millions of dollars to support Perlitz’s activities with PPT.

Perlitz used portions of these funds to groom his minor victims and to provide them

with gifts or money in exchange for sexual acts.         The Haiti Fund and Fairfield

University knew that Perlitz used substantial portions of these funds to finance his
frequent trips to, and extended stays in, Haiti. The Haiti Fund and Fairfield University,

operated by the New England Jesuit Order, failed to institute generally- accepted

safeguards – or any safeguards -- to prevent the abuses which occurred.
Facts Pertaining to Gervil St. Louis
      99.    In or around 2007, when Plaintiff Gervil St. Louis was approximately 15

years of age, Defendant Perlitz, while in Haiti, engaged in explicit sexual behavior and

lewd and lascivious behavior with Plaintiff, including but not limited to illicit sexual
conduct with Plaintiff.


                                           30
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 31 of 40




       100.   Without limiting either the generality of the preceding paragraph or the

specific number of instances of illicit conduct, during the time period referenced above,

Defendant Perlitz coerced Plaintiff into performing illicit sexual conduct by means of

implicit threats to Plaintiff. Among other things, Perlitz fondled Plaintiff and engaged

in acts of sodomy with Plaintiff.

       101.   Without limiting either the generality of the two immediate preceding

paragraphs or the specific number of instances of illicit conduct, during the time period

referenced above, Defendant Perlitz offered to provide things of value to Plaintiff in

return for illicit sexual conduct, including, among other things, money.

       102.   During the time period of Plaintiff’s abuse by Defendant Perlitz,

Defendant Father Carrier, who as described earlier was on notice as to the dangers

Perlitz posed to minors, was present in Perlitz’s home in Haiti.

       103.   During the time period of Plaintiff’s abuse by Defendant Perlitz,

Defendant Carter, who as described earlier was on notice as to the dangers Perlitz

posed to vulnerable individuals, was present in Perlitz’s Haitian home where the abuse

took place.

       104.   As a result of Defendant Perlitz’s illicit sexual conduct, lewd and
lascivious conduct, coercion and providing things of value to a minor for sex acts,

Plaintiff has suffered deep emotional and physical pain, is suffering deep emotional and

physical pain, and will suffer future deep emotional and physical pain.

       105.   At all times material hereto, Defendant Perlitz misrepresented and

concealed from Plaintiff the wrongful nature of the sexual and related activity and that

such activity could harm Plaintiff.

       106.   Victims of child sex abuse frequently have difficulty remembering the full
extent of the abuse they suffered or, even when they do recall, may be unable to

                                           31
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 32 of 40




communicate all of the details of that abuse. They may also be unaware, or unable to

communicate, the full extent of injury they have suffered from such abuse. As a victim

of Perlitz’s sexual abuse, Plaintiff is unable at this time to fully describe all of the details

of that abuse and the extent of the harm he suffered as a result.
                                     CLAIMS FOR RELIEF
                            PLAINTIFF’S FIRST CLAIM FOR RELIEF
           Civil Remedy for Personal Injuries Pursuant to 18 U.S.C. § 2255
                             (against Defendant Perlitz)
       107.   Plaintiff repeats, realleges, and incorporates by reference herein each and

every allegation heretofore pleaded in paragraphs 1-106 set forth above.

       108.   Defendant Perlitz violated 18 U.S.C. § 2423(b), Travel With Intent To

Engage In Illicit Sexual Conduct and was convicted of doing so. Plaintiff, while a

minor, was a victim of Defendant Perlitz’s violation of 18 U.S.C. § 2423(b).

       109.   Plaintiff has suffered substantial injuries as a result of Defendant Perlitz’s

violations of 18 U.S.C. § 2423(b).

       110.   By reason of the foregoing, Perlitz is liable to Plaintiff for damages in an

amount to be proved at trial, as well as the cost of this suit, and reasonable attorney’s

fees pursuant to 18 U.S.C. § 2255.
                          PLAINTIFF’S SECOND CLAIM FOR RELIEF:
             Civil Remedy for Personal Injuries Pursuant to 18 U.S.C. § 2255
    (against Defendants Father Carrier, the Haiti Fund and Fairfield University)
       111.   Plaintiff repeats, realleges, and incorporates by reference herein each and

every allegation heretofore pleaded in paragraphs 1-110 above.

       112.   Defendant Perlitz violated 18 U.S.C. § 2423 (b), Travel With Intent To

Engage In Illicit Sexual Conduct.

       113.   The Haiti Fund and Fairfield University knowingly benefitted financially
from PPT by touting their involvement in PPT as a basis for fund-raising activities. The

                                              32
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 33 of 40




Haiti Fund and Fairfield University received contributions based on and/or because of

their involvement in PPT.

      114.   Father Carrier knowingly benefitted financially from PPT in that Father

Carrier was an officer of the Haiti Fund, which received large sums of money,

apparently with substantial sums not accounted for.

      115.   Father Carrier, the Haiti Fund, and Fairfield University knew or should

have known that Perlitz was engaged in activities in violation of 18 U.S.C. § 2423(b).

      116.   In violation of 18 U.S.C. § 2423(d), Father Carrier, the Haiti Fund, and

Fairfield University, in order to promote PPT and receive the financial benefits from

their involvement with PPT, arranged for, or facilitated, Perlitz’s numerous trips to, and

extended stays in, Haiti when Father Carrier, the Haiti Fund, and Fairfield University

knew or should have known that Perlitz was traveling to Haiti to engage in illicit sexual

conduct with minors in Haiti.

      117.   By reason of the foregoing, Father Carrier, the Haiti Fund and Fairfield

University are liable to Plaintiff for damages in an amount to be proved at trial, as well

as reasonable attorney’s fees pursuant to 18 U.S.C. § 2255.
                          PLAINTIFF’S THIRD CLAIM FOR RELIEF
              Negligent Hiring, Retention, Direction and Supervision
 (against Defendants Father Carrier, Carter, the Haiti Fund, the Order of Malta,
Fairfield University, the New England Jesuit Order, and John Doe One, John Doe
            Two, John Doe Three, John Doe Four, and John Doe Five)
      118.   Plaintiff repeats, realleges, and incorporates by reference herein each and

every allegation heretofore pleaded in paragraphs 1-117 above.

      119.   At all times relevant to this action, the responsibilities of Father Carrier,

Carter, the Haiti Fund, the Order of Malta, Fairfield University, the New England Jesuit

Order, John Doe One, John Doe Two, John Doe Three, John Doe Four, and John Doe
Five (hereinafter referred to as the “Perlitz Supervisory Defendants”) included the
                                            33
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 34 of 40




hiring, retention, direction, and supervision of Perlitz.

       120.   At all times relevant to this action, the Perlitz Supervisory Defendants

knew or should have known that Perlitz would interact and was interacting with

individuals, including minors, and more specifically, was interacting with Plaintiff.

       121.   At all times relevant to this action, the Perlitz Supervisory Defendants had

a special relationship with Perlitz and/or with Plaintiff.

       122.   At all times relevant to this action, the Perlitz Supervisory Defendants had

a duty of care to properly hire, retain, direct, and supervise individuals of good

reputation and character who, it was known, would be interacting with minors in the

Republic of Haiti.

       123.   At all times relevant to this action, the Perlitz Supervisory Defendants

negligently breached said duty by hiring and retaining Perlitz, an individual whom the

Perlitz Supervisory Defendants knew or should have known was of bad character and

reputation and unable to properly interact with minors. The Perlitz Supervisory

Defendants improperly and inadequately directed and supervised Perlitz.

       124.   At all times relevant to this action, the Perlitz Supervisory Defendants

knew or should have known that Perlitz’s intentional and negligent conduct would
result in severe mental and emotional suffering by Plaintiff.

       125.   As a direct and proximate result of the Perlitz Supervisory Defendants’

negligent conduct, Plaintiff suffered and will continue to suffer in the future: severe and

permanent mental distress and emotional injuries, financial expenses for medical and

therapeutic care and treatment; lost long-term earning capacity; as well as other

damages.

       126.   By reason of the foregoing, the Perlitz Supervisory Defendants are liable
to Plaintiff for negligent hiring, retention, direction, and supervision, in an amount to be

                                             34
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 35 of 40




proved at trial.
                            PLAINTIFF’S FOURTH CLAIM FOR RELIEF
             Negligent Hiring, Retention, Direction, and Supervision
 (against Defendants the Haiti Fund, Fairfield University, the New England Jesuit
                   Order, John Doe Six and John Doe Seven)
       127.   Plaintiff repeats, realleges, and incorporates by reference herein each and

every allegation heretofore pleaded in paragraphs 1-126 above.

       128.   At all times relevant to this action, the responsibilities of the Haiti Fund,
Fairfield University, the New England Jesuit Order, John Doe Six and John Doe Seven

(hereinafter referred to as the “Father Carrier Supervisory Defendants”) included the

hiring, retention, direction, and supervision of Defendant Father Carrier.

       129.   At all times relevant to this action, the Father Carrier Supervisory

Defendants knew or should have known that Father Carrier was directly managing,

supervising, controlling and directing Perlitz who the Father Carrier Supervisory

Defendants knew or should have known was interacting with minors, and more

specifically, was interacting with Plaintiff.

       130.   At all times relevant to this action, the Father Carrier Supervisory

Defendants had a special relationship with Father Carrier and/or with Plaintiff.

       131.   At all times relevant to this action, the Father Carrier Supervisory

Defendants had a duty of care to properly hire, retain, direct, and supervise individuals

of good reputation and character who directly managed, supervised, controlled and

directed Perlitz who was interacting on a daily basis with extremely vulnerable minors

in the Republic of Haiti.

       132.   At all times relevant to this action, the Father Carrier Supervisory

Defendants negligently breached said duty by hiring and retaining Father Carrier, an
individual whom the Father Carrier Supervisory Defendants knew or should have


                                                35
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 36 of 40




known was of bad character and reputation and unable to properly manage, supervise,

control and direct Perlitz who was interacting on a daily basis with extremely

vulnerable minors in the Republic of Haiti. The Father Carrier Supervisory Defendants

improperly and inadequately directed and supervised Father Carrier.

       133.   At all times relevant to this action, the Father Carrier Supervisory

Defendants knew or should have known that Father Carrier’s intentional and negligent

conduct would result in severe mental and emotional suffering by Plaintiff.

       134.   As a direct and proximate result of the Father Carrier Supervisory

Defendants’ negligent conduct, Plaintiff suffered and will continue to suffer in the

future: severe and permanent mental distress and emotional injuries, financial expenses

for medical and therapeutic care and treatment; lost long-term earning capacity; as well

as other damages.

       135.   By reason of the foregoing, the Father Carrier Supervisory Defendants are

liable to Plaintiff for negligent hiring, retention, direction and supervision in an amount

to be proved at trial.
                          PLAINTIFF’S FIFTH CLAIM FOR RELIEF
                              Breach of Fiduciary Duty
   (against Defendants Father Carrier, Carter, the Haiti Fund, the Order of Malta,
  Fairfield University, the New England Jesuit Order, and John Doe One through
                                 John Doe Seven)
       136.   Plaintiff repeats, realleges, and incorporates by reference herein each and

every allegation heretofore pleaded in paragraphs 1-135 above.

       137.   At all relevant times, Father Carrier, Carter, the Haiti Fund, the Order of

Malta, Fairfield University, the New England Jesuit Order, and John Doe One through

John Doe Seven knew that PPT, operated, managed and controlled by Defendant

Perlitz, was providing services to extremely vulnerable minors in the Republic of Haiti.
       138.   At all relevant times, Father Carrier, Carter, the Haiti Fund, the Order of
                                            36
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 37 of 40




Malta, Fairfield University, the New England Jesuit Order, and John Doe One through

John Doe Seven sponsored and promoted PPT which the Defendants knew was

providing services to extremely vulnerable minors in the Republic of Haiti.

         139.   Father Carrier, Carter, the Haiti Fund, the Order of Malta, Fairfield

University, the New England Jesuit Order, and John Doe One through John Doe Seven

each had a fiduciary obligation to the Haitian minors participating in PPT, specifically

including Plaintiff.

         140.   Father Carrier, Carter, the Haiti Fund, the Order of Malta, Fairfield

University, the New England Jesuit Order, and John Doe One through John Doe Seven

each breached their fiduciary duty to Plaintiff.

         141.   As a direct and proximate result of the breach of fiduciary duty by

Defendants Father Carrier, Carter, the Haiti Fund, the Order of Malta, Fairfield

University, the New England Jesuit Order, and John Doe One through John Doe Seven,

Plaintiff suffered and will continue to suffer in the future: severe and permanent mental

distress and emotional injuries, financial expenses for medical and therapeutic care and

treatment; lost long-term earning capacity; as well as other damages.

         142.   By reason of the foregoing, Defendants Father Carrier, Carter, the Haiti
Fund, the Order of Malta, Fairfield University, the New England Jesuit Order, and John

Doe One through John Doe Seven are liable to Plaintiff in an amount to be proved at

trial.
                            PLAINTIFF’S SIXTH CLAIM FOR RELIEF
            Civil Remedy for Personal Injuries Pursuant to 18 U.S.C. § 1595
                              (against Defendant Perlitz)
         143.   Plaintiff repeats, realleges, and incorporates by reference herein each and

every allegation heretofore pleaded in paragraphs 1-142 above.
         144.   Perlitz caused Plaintiff, who was then under the age of 18, to engage in

                                             37
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 38 of 40




commercial sex in Haiti by pressing him to engage in sexual acts in exchange for things

of value, including but not limited to, money. Perlitz further recruited, enticed, and

maintained Plaintiff knowing that Perlitz would cause him to engage in these

commercial sex acts. The money to finance Perlitz’s venture came from the United

States, so that Perlitz’s conduct affected foreign commerce.

          145.   Perlitz’s acts constitute a violation of 18 U.S.C. § 1591 which prohibits sex

trafficking of children. Plaintiff was a victim of Perlitz’s violations of § 1591.

          146.   By reason of the foregoing, Perlitz is liable to Plaintiff for damages in an

amount to be proved at trial, as well reasonable attorney’s fees pursuant to 18 U.S.C.

§ 1595.
                            PLAINTIFF’S SEVENTH CLAIM FOR RELIEF
          Civil Remedy for Personal Injuries Pursuant to 18 U.S.C. § 1595
    (against Defendants Father Carrier, the Haiti Fund and Fairfield University)
          147.   Plaintiff repeats, realleges, and incorporates by reference herein each and

every allegation heretofore pleaded in paragraphs 1-146 above.

          148.   The Haiti Fund and Fairfield University have knowingly benefitted

financially from PPT by touting their involvement in PPT as a basis for fund-raising

activities. The Haiti Fund and Fairfield University received contributions based on

and/or because of their involvement in PPT.

          149.   Father Carrier knowingly benefitted financially from PPT in that Father

Carrier was an officer of the Haiti Fund, which received large sums of money,

apparently with substantial sums not accounted for.

          150.   Father Carrier, the Haiti Fund, and Fairfield University knew or should

have known that PPT, through Perlitz, was engaged in activities in violation of 18

U.S.C. § 1591.
          151.   By reason of the foregoing, Father Carrier, the Haiti Fund and Fairfield

                                               38
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 39 of 40




University are liable to Plaintiff for damages in an amount to be proved at trial, as well

as reasonable attorney’s fees pursuant to 18 U.S.C. § 1595.
                                  PRAYER FOR RELIEF
      WHEREFORE Plaintiff Gervil St. Louis respectfully demands judgment of

$20,000,000 in damages against each Defendant for each claim Plaintiff Gervil St. Louis

states against each Defendant, punitive damages, costs, interest, attorneys’ fees, and

such other and further relief as this Court deems just and equitable.
                         PLAINTIFF’S JURY TRIAL DEMAND
      Plaintiff demands a trial by jury on all claims so triable.

Dated: August 8, 2013

                                          By Plaintiff’s Attorneys,


                                  By:     /s/ Steven J. Errante
                                          Steven J. Errante (ct04292)
                                          SErrante@ltke.com
                                          Marisa A. Bellair (ct23802)
                                          LYNCH, TRAUB, KEEFE, & ERRANTE, P.C.
                                          P.O. Box 1612
                                          52 Trumbull Street
                                          New Haven, CT 06510
                                          Phone: (203) 787-0275
                                          Fax: (203) 782-0278

Of counsel:
Mitchell Garabedian
Mitchell Garabedian (phv04676)
garabedianlaw@msn.com
William H. Gordon (phv04677)
garabedianlaw@earthlink.net
LAW OFFICES OF MITCHELL GARABEDIAN
100 State Street, 6th Floor
Boston, MA 02109
Phone: (617) 523-6250


                                            39
 Case 3:13-cv-01132-RNC Document 1 Filed 08/08/13 Page 40 of 40




Paul J. Hanly, Jr. (phv04680)
phanly@hanlyconroy.com
Jayne Conroy (phv04679)
jconroy@hanlyconroy.com
Andrea Bierstein (phv04678)
abierstein@hanlyconroy.com
HANLY CONROY BIERSTEIN SHERIDAN FISHER & HAYES LLP
112 Madison Ave., 7th floor
New York, New York 10016
Phone: (212) 784-6400




                                     40
